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15   [Additional Counsel Listed on Signature Page]      Page]
16
                       IN THE UNITED STATES DISTRICT COURT
17                          FOR THE DISTRICT OF NEVADA
18
     Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,   No.: 2:15-cv-01045-RFB-BNW
19   Luis Javier Vazquez, and Kyle Kingsbury, on
     behalf of themselves and all others similarly      JOINT MOTION TO PARTIALLY
20   situated,                                          UNSEAL RECORD DOCUMENTS
                                                        CONTAINING PERSONALLY
21                         Plaintiffs,                  IDENTIFYING INFORMATION
22          v.
23   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
24
                           Defendant.
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                                                                        Case No.: 2:15-cv-01045-RFB-BNW
        JOINT MOTION TO PARTIALLY UNSEAL RECORD DOCUMENTS CONTAINING
                      PERSONALLY IDENTIFYING INFORMATION
             Case 2:15-cv-01045-RFB-BNW Document 948 Filed 12/22/23 Page 2 of 5




 1             Pursuant to the Order entered by the Court, ECF No. 847 (“Order Re Sealed Documents”

 2   or the “Order”), Plaintiﬀs and Defendant Zuﬀa, LLC (collectively, the “Parties”) respectfully

 3   submit this joint motion to amend the sealing of portions of the filed record containing personally

 4   identifying information.

 5             On August 21, 2023, after the Court informed the Parties that it intended to unseal the

 6   record in this action except for personally identifying information and medical information, the

 7   Court ordered the parties to “jointly file the record with the proposed redactions and to file any

 8   motion requesting additional redactions apart from those concerning the personal identifying

 9   information described above.” ECF No. 847.

10             In accordance with the Court’s Order, the Parties have reviewed the full sealed record and

11   identified 162 documents previously filed under seal that contain personally identifying

12   information and require further redactions before they may be unsealed.       ese documents are set

13   forth by docket entry in the attached spreadsheet. See Exhibit A.

14             Attached as Exhibits 1-1631 to this motion are true and accurate copies of each docket
15   entry listed in Exhibit A with all personally identifying information redacted. When the Court
16   unseals the record in this action, the Parties submit that these 162 documents may replace the
17   current sealed versions on the public docket.
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         Exhibit 42 is intentionally left blank.
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                                              1            Case No.: 2:15-cv-01045-RFB-BNW
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 1          Respectfully submitted,

 2

 3   DATED: December 22, 2023

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                                          2            Case No.: 2:15-cv-01045-RFB-BNW
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         Case 2:15-cv-01045-RFB-BNW Document 948 Filed 12/22/23 Page 4 of 5




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28
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that the foregoing Joint Motion to Partially Unseal Record Documents

 3   Containing Personally Identifying Information was served on December 22, 2023, via the District

 4   Court of Nevada’s ECF system to all counsel of record who have enrolled in this ECF system.

 5
                                                        /s/ Christopher K. L. Young ____
 6                                                          Christopher K. L. Young
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